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     Bonny E. Sweeney (Cal. Bar. No. 176174)      Pat A. Cipollone, P.C. (pro hac vice)
 1   HAUSFELD LLP                                 Rebecca R. Anzidei (pro hac vice)
 2   600 Montgomery St., Suite 3200               Robert B. Gilmore (pro hac vice)
     San Francisco, California 94111              STEIN MITCHELL CIPOLLONE
 3   Tel: 415-633-1908                            BEATO & MISSNER LLP
     Fax: 415-358-4980                            1100 Connecticut Ave., N.W.
 4   bsweeney@hausfeld.com                        Washington, D.C. 20036
                                                  Tel: (202) 737-7777
 5   Richard Lewis (pro hac vice)                 pcipollone@steinmitchell.com
     Sathya S. Gosselin (Cal. Bar. No. 269171)    ranzidei@steinmitchell.com
 6   HAUSFELD LLP                                 rgilmore@steinmitchell.com
     1700 K St. N.W., Suite 650
 7   Washington, D.C. 20006                       Elizabeth C. Pritzker (Cal. Bar. No. 146267)
     Tel: 202-540-7200                            Jonathan K. Levine (Cal. Bar. No. 220289)
 8   Fax: 202-540-7201                            Bethany L. Caracuzzo (Cal. Bar. No. 190687)
     rlewis@hausfeld.com                          PRITZKER LEVINE LLP
 9   sgosselin@hausfeld.com                       180 Grand Avenue, Suite 1390
                                                  Oakland, California 94612
10                                                Tel. 415-692-0772
11                                                Fax. 415-366-6110
                                                  ecp@pritzkerlevine.com
12                                                jkl@pritzkerlevine.com
                                                  bc@pritzkerlevine.com
13
14
15   Interim Class Counsel
16
                               IN THE UNITED STATES DISTRICT COURT
17                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

18
                                                 Case No. 15-cv-03504-YGR-JSC
19   CHRISTOPHER CORCORAN, et al.,
                                                 CLASS ACTION
20                             Plaintiffs,
                                                 DECLARATION OF BONNY E.
21         v.                                    SWEENEY IN SUPPORT OF
                                                 PLAINTIFFS’ ADMINISTRATIVE
22   CVS PHARMACY, INC.,                         MOTION TO FILE UNDER SEAL
                                                 MATERIALS DESIGNATED AS
23                             Defendant.        CONFIDENTIAL
24                                               Judge: Hon. Yvonne Gonzalez Rogers
25
26
27
28



     DECL. ISO PLS.’ ADMIN. MOT. TO FILE UNDER                    CASE NO. 15-CV-03504-YGR-JSC
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 1   I, Bonny E. Sweeney declare as follows:
 2         1.        I am an attorney admitted to practice before this Court and am a partner of Hausfeld
 3   LLP, one of law firms representing Plaintiffs and the proposed classes in this litigation. I make this
 4   declaration in support of Plaintiffs’ accompanying Administrative Motion to Seal. I have personal
 5   knowledge of the facts stated herein and, if called upon to do so, could and would testify competently
 6   thereto.
 7          2.       Pursuant to § 2.2 of the Revised Stipulated Protective Order (“Order”) (Docket No. 66,
 8   filed December 14, 2015 and approved by the Court on December 15, 2015, Docket No. 67), each
 9   party may designate as “Confidential” information that qualifies for protection under Federal Rule of
10   Civil Procedure 26(c). Pursuant to § 7.2 of the Order, disclosure of such information may be allowed
11   only to the categories of persons and under the conditions described in the Order.
12          3.       The Court has also previously sealed other portions of some of these deposition
13   transcripts and other documents in its rulings on the administrative motions to seal that were filed with
14   respect to Plaintiffs’ original motion for class certification, reply, and oppositions to motions to strike
15   Plaintiffs’ experts Dr. Navarro and Dr. Hay, as noted in the chart below. See Dkt. Nos. 250-56.
16         4.         The documents or portions of documents that were previously designated Confidential
17   or contain information previously designated Confidential by CVS are filed under seal herewith.
18   However, in some instances, documents CVS previously designated as confidential are documents
19   CVS no longer defends for redaction/sealing. See Dkt. No. 292 (Moffatt Decl. ¶ 9). Accordingly,
20   Plaintiffs have not redacted or filed those documents under seal. The documents Plaintiffs propose to
21   seal based on CVS’s prior designations and current stance as to confidentiality are as follows:
22
23       New Document or New              Designating Party and             Prior Orders re. Sealing
         Portion of Document              Confidentiality
24       Sought to be Sealed              Designation
25       Briefing & Expert Reports/Declarations

26       Portions of Plaintiffs’          CVS- Confidential                 N/A
         Opposition to CVS’
27       Motion for Summary
         Judgment, pp. 4-5 (chart);
28       5:15-18; 6:6, 10, 12, 14-15;
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 1      7:1-2, 9-21; 8:1-2, 4-11, 13-
        18; 12-13 (chart); 13:9-12;
 2      15:4-5, 16; 16:1
 3      Footnotes 15, 16, 17, 22, 25,
        31, 32, 33, 35, 36, 37, 38,
 4      39, 51
 5      Portions of Plaintiffs’         CVS- Confidential   N/A
        Responsive Statements of
 6      Facts, Resp. to Fact No. 3,
 7      4, 8, 11, 12, 15, 16, 18;
        Additional Fact No. 7, 11
 8
 9      Portions of Plaintiffs’         CVS- Confidential   N/A
10      Opposition to CVS’
        Motion to Exclude Dr.
11      Hay’s Expert Testimony at
        pp. 8:19-20; 9:1-2, 4-6; 10-
12      20-22; 11 (block quote); 11-
13      15-16, 21-22; 12:10-13, 15-
        17; 13:23-24; 14:2, (chart),
14      11-16; Footnotes 18, 26, 27,
        28
15
16
        PX-767 to the Meyers Decl.:     CVS- Confidential   Ordered Sealed at Dkt. No.
17      Expert Report of Joel W.                            253.
        Hay, Ph.D, dated Dec. 9,
18      2016 at ¶¶ 32-35, 39-53, 62-
19      68, 71-73; footnotes 9, 15,
        16, 19, 27; Tables 1-20
20
        PX-769 to the Gilmore Decl.     CVS- Confidential   N/A
21      & Meyers Decl.: portions of
        the Rebuttal Report of Joel
22      W. Hay, Ph.D, dated Jan.
        27, 2017) at ¶¶ 7; 8; 9; 10;
23
        11; 18 at Table 1; 19, Table
24      2; 20; 21 & Table 3; 23; 24
        & Table 5; 25 & Table 6; 26
25      & Table 7; 27; 28; 29; 31;
        36; 39; 40; 42; 43; 44; 47;
26
        48; and footnote 24; and
27      Exs. D-H

28      PX-800 to the Gilmore Decl.     CVS- Confidential   N/A

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 1      & Meyers Decl.: Amended
        and Supplemented
 2      Declaration of Joel W. Hay,
        Ph.D, at ¶¶ Headings IIIC
 3      and IIID; Portions of paras
 4      10, 11, 15, 22; Tables 1-4
        PX-803 to the Gilmore Decl.     CVS- Confidential   N/A
 5
        & Meyers Decl.: portions of
 6      the Amended and
        Supplemented Declaration
 7      of Dr. Robert Navarro,
        dated June 6, 2017, at Table
 8
        of Contents; ¶¶ 25, 30, 36,
 9      37, 38, 39, 40, 41, 42, 43,
        44, 45, 46, 47, 48, 49, 52,
10      53, 60, 62, 70, 73, 77;
11      footnotes 19, 27, 30, 43, 45,
        53, 72, 75; headings A, B, C,
12      D, E, F,
13      PX-809 to the Gilmore Decl.     CVS- Confidential   Ordered sealed in Dkt. No.
        & Meyers Decl.: Oct. 3,                             250.
14      2016 Expert Declaration of
        Prof. Joel W. Hay, Ph.D.
15
        (“Hay Decl.”) at ¶¶ 31-34,
16      38, 40-42, 52-55; footnotes
        10; Tables 1-17
17
        PX-810 to the Gilmore Decl.     CVS- Confidential   Ordered sealed in Dkt. No.
18      & Meyers Decl.: Jan. 9,                             255.
        2017 Expert Rebuttal
19      Declaration of Prof. Joel
20      W. Hay, Ph.D. (“Hay
        Rebuttal Decl.”) portions of
21      ¶¶ 7-11, 13-15, 19-21, 24-
        27, 30-34, 36, 38;
22      subheadings G., H.;
23      footnotes 2, 4, 10, 16, and
        20; Tables 1-21
24
        PBM Contracts
25      PX-530 to the Gilmore           CVS-Confidential    N/A
26      Decl.: CVS – Aetna
        Contract
27
        PX-532 to the Gilmore           CVS-Confidential    N/A
28
        Decl.: CVS – Express
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 1      Scripts Agreement

 2      PX-541 to the Gilmore           CVS- Confidential   N/A
        Decl.:     CVS - Optum
 3      (formerly Prescription
 4      Solutions) Prescription
        Drug Services Agreement
 5
        PX-546 to the Gilmore           CVS- Confidential   N/A
 6      Decl.: CVS – Caremark
 7      (formerly PCS Health
        Systems, Inc.) Agreement
 8
        PX-676 to the Gilmore           CVS-Confidential    N/A
 9
        Decl.: CVS-MedImpact
10      Agreement

11      PX-677 to the Gilmore           CVS- Confidential   N/A
12      Decl.: CVS - Medco Retail
        Pharmacy Agreement
13
        PX-685 to the Gilmore           CVS- Confidential   N/A
14      Decl.: Medco 2009/2010
15      Pharmacy Services
        Manual
16
        Depositions & Excerpts of Testimony
17
        PX-804 to the Gilmore           CVS- Confidential   Ordered Sealed in Dkt. Nos.
18      Decl.; excerpts of deposition                       250, 252
19      transcript of Hilary Dudley
        (30(b)(6))
20      PX-807 to the Gilmore           CVS- Confidential   Ordered Sealed in Dkt. No.
21      Decl.; excerpts of deposition                       252
        transcript of Thomas E.
22      Morrison [TX Action]
        (Testimony Under Oath)
23
        PX-821 to the Gilmore           CVS- Confidential   Ordered Sealed in Dkt. No.
24      Decl.: excerpts of deposition                       250.
25      transcript of Paul Ferschke
        (TX)
26
        PX-822 to the Gilmore           CVS- Confidential   Ordered Sealed in Dkt. No.
27      Decl.: excerpts of November                         251.
        9, 2016 Deposition of Prof.
28      Joel W. Hay, Ph.D
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 1      PX-823 to the Gilmore           CVS- Confidential   N/A
        Decl.: excerpts of March
 2      17, 2017 Deposition of
        Prof. Joel W. Hay, Ph.D
 3
        PX-827 to the Gilmore           CVS- Confidential   Ordered Sealed in Dkt. Nos.
 4      Decl.: excerpts of deposition                       250, 255.
        transcript of Robert
 5
        Greenwood
 6
 7      PX-831 to the Gilmore           CVS- Confidential   Ordered Sealed in Dkt. No.
        Decl.: excerpts of deposition                       255.
 8      transcript of Thomas
 9      Gibbons (Dec. 13, 2016)

10
        Other Documents
11
        PX-11 to the Gilmore Decl.:     CVS- Confidential   N/A
12      Cash Discount Rx
13      Programs, BPC
        Discussion: 8/18/08
14
        PX-20 to the Gilmore Decl.:     CVS- Confidential   N/A
15      CVS-Meridian Rx LLC
16      Pharmacy Services
        Agreement
17
        PX-28 to the Gilmore Decl.      CVS- Confidential   N/A
18      & Meyers Decl.: Oct. 27,
19      2010 Retail Pricing Review

20      PX-36 to the Gilmore Decl.:     CVS- Confidential   N/A
        Email regarding U&C
21
        Definitions
22
        PX-40 to the Gilmore Decl.      CVS- Confidential   Ordered Sealed in Dkt. No.
23      & Meyers Decl.: Apr. 9,                             250.
24      2008 Emails re Cash card
        discussions
25
        PX-42 to the Gilmore Decl.      CVS- Confidential   Ordered Sealed in Dkt. No.
26      & Meyers Decl.: Aug. 3,                             250.
27      2008 D. Ghertner email

28      PX-47 to the Gilmore Decl.      CVS- Confidential   Ordered Sealed in Dkt. No.
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 1      & Meyers Decl.:                                    250.
        CVS/Pharmacy Health
 2      Savings Pass Policies &
        Procedures
 3
 4      PX-58 to the Gilmore Decl.:    CVS- Confidential   N/A
        Feb. 11, 2008 Bessant
 5      email to Morrison re
        Update on Morning
 6      Meetings
 7
        PX-59 to the Gilmore Decl.:    CVS- Confidential   N/A
 8      Feb. 22, 2008 Morrison
        email re Slide Changes
 9
10      PX-60 to the Gilmore Decl.     CVS- Confidential   Ordered Sealed in Dkt. No.
        & Meyers Decl.: May 14,                            250.
11      2008 T. Morrison-B.
12      Harlam email exchange
        titled “Cash Card”
13
        PX-83 to the Gilmore Decl.     CVS- Confidential   Ordered Sealed in Dkt. No.
14      & Meyers Decl.: Health                             250.
15      Savings Pass
        Reconciliation Process
16
        PX-163 to the Gilmore          CVS- Confidential   N/A
17      Decl., Dec. 9, 2012 Business
18      Case from ScriptSave.

19      PX-164 to the Gilmore          CVS- Confidential   N/A
        Decl., Dec. 6, 2012 Business
20
        Case from ScriptSave.
21
        PX-239 to the Gilmore          CVS- Confidential   N/A
22      Decl.: S. Tierney email to
23      E. Wingate regarding
        “Medco Provider Manual”
24
        PX-251 to the Gilmore          CVS- Confidential   N/A
25      Decl.: Jan. 25, 2013 email
26      from Emdeon to various
        CVS personnel re
27      Emdeon/ScriptSave.
28
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 1       PX-254 to the Gilmore            CVS- Confidential                Ordered Sealed in Dkt. No.
         Decl.: June 2010                                                  250.
 2       Landscape Strategy
         Presentation
 3
 4       PX-285 to the Gilmore Decl.      CVS- Confidential                Ordered Sealed in Dkt. No.
         & Meyers Decl.: CVS list of                                       250.
 5       “Cash Discount” programs
 6       PX-335 to the Gilmore            CVS- Confidential                N/A
 7       Decl.: CVS Third Party
         Contract Administration
 8       Policy & Procedure No.
         000-000-176 (eff.
 9
         11/10/2000), at CVSC-
10       0355496-97; CVSC-
         0355505 (2012 revision)
11
         PX-840 to the Gilmore            CVS- Confidential                N/A
12
         Decl.: Plaintiffs’ Suppl.
13       Resps. & Obj. to Defendants
         First Interrogatories
14
15
            6.      Plaintiffs do not take a position as to whether these documents have been appropriately
16
     designated as Confidential and are appropriately filed under seal for purposes of Plaintiffs’ Opposition
17
     to Summary Judgment. Plaintiffs reserve any right to object to the proposed sealing or redaction of
18
     documents.
19
            I declare under penalty of perjury that the foregoing is true and correct.
20
            Executed this 20th day of June, 2017 in San Francisco, California.
21
22
23                                                        By: /s/ Bonny E. Sweeney
                                                                 Bonny E. Sweeney
24
25
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27
28
     DECL. ISO PLS.’ ADMIN. MOT. TO FILE UNDER                                CASE NO. 15-cv-03504-YGR-JSC
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